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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                         §                           CASE NO. 21-31686
                                               §
PARK 4 LESS, LLC,                              §                                (CHAPTER 11)
                                               §
         Debtor.                               §

             NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

         PLEASE TAKE NOTICE that the undersigned attorney appears as counsel for DSDY

REAL ESTATE, LLC, a creditor and party-in-interest, and pursuant to, inter alia, F.R.B.P.

Rules 2002 and 9007 and § 1109(b) of the Bankruptcy Code, requests that all notices given

or required to be given in this case, and all papers served or required to be served in this

case, be provided to and served upon the undersigned at the following address:

                                     Brian B. Kilpatrick
                               WILSON, CRIBBS + GOREN, P.C.
                                    2500 Fannin Street
                                  Houston, Texas 77002
                              Email: bkilpatrick@wcglaw.com

         PLEASE TAKE FURTHER NOTICE that pursuant to § 1109(b) of the Bankruptcy

Code, this request includes not only the notices and papers referred to in the Bankruptcy

Rules set forth above, but also includes, without limitation, any and all other orders and

notices of application, motion, petition, pleading, request, complaint, or demand, whether

formal or informal, whether written or oral, and whether transmitted by or conveyed by

mail, courier service, hand delivery, telephone, facsimile transmission, telegraph, telex, or

otherwise that (1) affects or seeks to affect in any way any rights or interests of any creditor

or party-in-interest in this case, including the Parties with respect to: (a) the debtor; (b)

property of the estate, or proceeds thereof, in which the debtor may claim an interest; or (c)

property or proceeds thereof in the possession, custody or control of others that the debtor
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may seek to use; or (2) require or seeks to require any act, delivery of any

property, payment, or other conduct by the Parties.



                                          Respectfully submitted,

                                          WILSON, CRIBBS + GOREN, P.C.

                                          By: /s/ Brian B. Kilpatrick
                                          Brian B. Kilpatrick, TBN 24074533
                                          Email: bkilpatrick@wcglaw.com
                                          2500 Fannin Street
                                          Houston, Texas 77002
                                          Telephone (713) 222-9000
                                          Facsimile (713) 229-8824

                                          Attorneys For DSDY Real Estate, LLC
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                              CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2021, a true and correct copy of the foregoing Notice
of Appearance and Request for Notices was served on all parties requesting notices
electronically via the Court’s CM/ECF notification system.


                                                         /s/ Brian B. Kilpatrick
                                                         BRIAN B. KILPATRICK
